                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
           Plaintiff,                           )
                                                )
             v.                                 )
                                                ) No. 00-00004-01/08/09-CR-W-ODS
MICHAEL HATCHER, et al.,                        )
                                                )
           Defendants.                          )


     ORDER AND OPINION ADOPTING MAGISTRATE JUDGE’S REPORT AND
        RECOMMENDATION AND DENYING REQUEST FOR NEW TRIAL


      On June 22, 2005, the Honorable John T. Maughmer, Chief United States
Magistrate Judge for this district, issued his Report and Recommendation (“Report”)
wherein he recommended the Court find the outcome of Defendants’ trial would not likely
have been different had they been supplied with certain tape recordings between a
witness and his attorneys. Defendants filed objections, and the Court has conducted a
de novo review of the record. The Court now adopts the Report’s findings and
recommendations.


                                   I. BACKGROUND


      Following a jury trial, Defendants Michael Hatcher, Angelo Porello and Joseph
Porello were convicted on a variety of charges stemming from a string of jewelry store
robberies. Prior to trial, Defendants were provided access to conversations of
cooperating witnesses that had been recorded while the witnesses were incarcerated in
pretrial detention centers, except for conversations between the witnesses and their
attorneys. On appeal, the Eighth Circuit held this Court’s orders rejecting Defendants’
request for the those excepted recordings to be erroneous because “[t]he presence of



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the prison recording device destroyed the attorney-client privilege.” United States .v
Hatcher, 323 F.3d 666, 674 (8th Cir. 2003). The case was remanded “to the District
Court to consider what effect, if any, the disclosure would have had on this prosecution.
This will provide the government with the opportunity to argue that the non-disclosure of
the tapes was harmless error.” Id.1
       Prior to trial, Defendants received copies of approximately 5,200 recorded
conversations. The conversations with attorneys were not transcribed or organized until
after the case was remanded from the Court of Appeals, at which time 199 such
conversations were identified. Fifty-eight of them were offered into evidence, forty-two
of which were the topic of discussion before Judge Maughmer. Only seven are
addressed in Defendants’ objections, so the Court’s discussion will focus on those seven
recordings. The Report’s discussion of the remaining fifty-one recordings offered into
evidence will be adopted en toto by the Court.
                                      II. DISCUSSION
       The failure to divulge evidence2 violates the Constitution “only if the evidence is
material in the sense that its suppression undermines confidence in the outcome of the



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         The majority also indicated this Court could “allow the parties to pursue the issue
of the government’s standing by supplemental briefs, evidence, or otherwise.” Hatcher,
323 F.3d at 674 n.2. In his separate concurrence, Judge Bye “encouraged” this course.
Id. at 675. However, the issue has not arisen, possibly because the parties believe the
posture of the case has rendered the issue tangential at best. Armed with the majority
opinion that the tapes should have been released, the issue of the Government’s standing
to object to the release appears irrelevant and the parties have focused on the potential
for prejudice from the non-disclosure.
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        In their objections, the Porellos couch their legal argument in terms of
Confrontation Clause violations. This represents a change in reasoning in that their
arguments to Judge Maughmer were based on the Government’s failure to produce
evidence in violation of Bagley and Brady v. Maryland, 373 U.S. 83 (1963). Moreover,
the cases relied upon involved limitations on cross-examination and not the failure to
produce evidence. United States v. Beckman, 222 F.3d 512, 524 (8th Cir. 2000),
Harrington v. Iowa, 109 F.3d 1275, 1277 (8th Cir. 1997). For these reasons, the Court
applies the standards from Bagley and Brady.

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trial.” United Staes v. Bagley, 473 U.S. 667, 676 (1985). This occurs only when “the
favorable evidence could reasonably be taken to put the whole case in such a different
light as to undermine confidence in the verdict.” United States v. Gonzales, 90 F.3d
1363, 1368 (8th Cir. 1996) (quotations omitted); see also Clemmons v. Delo, 124 F.3d
944, 949 (8th Cir. 1997), cert. denied, 523 U.S. 1088 (1998) (quotation omitted). This
determination is made by considering the combination of the excluded evidence and the
evidence actually introduced at trial. Gonzales, 90 F.3d at 1368. This analysis applies
to evidence that is exculpatory as well as to evidence that may be useful for
impeachment. Bagley, 473 U.S. at 676.
       The seven recordings addressed in Defendants’ objections all involve
conversations between Clarence Burnett and various attorneys. There is little dispute
that Burnett was the Government’s key witness. As the Eighth Circuit observed,


       [t]he evidence against Mr. Hatcher consisted primarily of Mr. Burnett’s
       testimony against him, although that testimony was corroborated by
       independent sources, including phone records of conversations that took
       place after the robbery. There was substantial evidence indicating that the
       Porellos acted as the fences for the jewelry. The only evidence directly
       linking the Porellos to the planning of the crime, on the other hand, came
       either from Mr. Burnett on the witness stand or through other witnesses
       relating what Mr. Burnett had told them at the time of the robberies.

323 F.3d at 669-70.
       Burnett testified for approximately eleven hours, eight hours of which was spent
on cross-examination. Tr. at 1478, 1647, 1764-65. Generally speaking, he testified that
he organized a group to execute jewelry store robberies planned by the Porellos.
Hatcher was one of the people Burnett recruited to participate in the robberies.
       As might be expected given the length of cross-examination and the importance of
Burnett’s testimony, counsel for all the defendants engaged in a variety of attempts to
impeach his credibility. The jury learned of inconsistencies between Burnett’s trial
testimony and (1) Burnett’s grand jury testimony, Tr. at 1418-19, 1629-31, (2) Burnett’s
handwritten notes, Tr. at 1680-81, 1788-89, 1801-04, and (3) notes of interviews


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prepared by FBI agents. Tr. at 1406-08, 1416-17, 1419-21, 1425-26, 1628, 1681,
1704-05, 1711-12, 1789-90, 1796-98. The jury learned Burnett faced a sentence of
thirty years to life on a drug conviction and a sentence of 188 to 235 months for the
jewelry store robberies, Tr. at 1236-37, 1243-44, 1361, 1591, that certain charges had
been dismissed (including firearm charges that would have required imposition of
significant consecutive sentences), Tr. at 1243, 1445, 1592-93, and that he expected a
reduced sentence for cooperating with the Government in this trial. Tr. at 1237, 1498-
1500, 1522-23, 1527-28, 1541, 1573-76. He conceded that he hoped to be released
immediately, but understood the ultimate decision would be made by the sentencing
judge and denied that any promises had been made about his sentence. Tr. at 1243,
1362, 1576-78, 1581, 1583, 1593, 1606, 1780-81.
       With this general background established, the Court now turns to the seven
conversations that are the subject of Defendants’ objections.


1. Tab 23


       Defendants argue this conversation demonstrated Burnett’s belief that “he had
absolute control over the government’s witnesses’ testimony” and that the Government
would not obtain additional witnesses without his help. Placed in context, Burnett’s
statements in this conversation are not particularly ominous.
       The relevant portion of the conversation actually starts with Burnett asking
whether he can be charged with any of the crimes he told the authorities about if the
authorities can find witnesses to testify against him. (Tab 23, page 27). Counsel
confirms Burnett cannot be charged based on information he supplies but “[i]f they
develop it independently they can.” Upon further questioning from Burnett, counsel
explains the Government’s information cannot be derived from any information Burnett
provided. During the course of the conversation, counsel explains that the Government
must “show that they got that other witness without you” and Burnett responded by
stating “Oh, well, that’s not gonna happen.” The conversation continues, with the

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attorney expanding on his explanation and advising Burnett of the circumstances in which
the Government can use information against him. Their conversation abruptly ends, (Tab
23, page 31), but the call is placed again almost immediately and counsel’s description of
evidence the Government could claim to have been independently derived resumes.
(Tab 24).
       In context, it is clear Burnett did not claim he “controlled” witnesses. Burnett
offers his belief that the only way the Government learned about certain witnesses was
through his own proffers. This belief was expressed during a conversation about what
kinds of evidence the Government could use against him. The Court concludes this
evidence could not have been used to impeach Burnett’s trial testimony.
       As a final note, the Court notes Burnett provided much more damaging testimony
in this vein at trial. He admitted he “bribed” his cousin (Larry Ray) to keep him from
providing further cooperation, Tr. at 1320, 1400-02, and discussed the value of
cooperation with other individuals. Tr. at 1528-29, 1533-34, 1541-42.


2. Tab 24


       As mentioned in the preceding section, this conversation resumes a discussion of
the Government’s ability to use certain information to support charges against Burnett.
Burnett asks the attorney whether charges against him could be based on information
supplied by Thomas Benton if he (Burnett) provided information about crimes Benton
committed, and the answer is in the negative. (Tab 24, pages 8-9). Burnett then states
he does not care whether Benton cooperates because he has superior information about
the crimes Benton knows about and theorizes that “it would be stupid for [Benton] to
cooperate without me.” (Tab 24, page 9). Burnett then states “the only way Benton’s
going to cooperate – the reason why he ain’t cooperated thus far is because I told him
not to.” Defendants advance this statement as further proof that Burnett “controlled”
witnesses.



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       At trial, Burnett explained that he was the leader of the gang, and that he had
superior knowledge of the crimes and held greater value as a witness. Tr. at 1572-75.
The jury knew Burnett discussed the potential for cooperating with others involved in the
robbery. When compared to the rest of his testimony, the single sentence indicating
Burnett told Benton not to cooperate would have had a negligible impact on his credibility.


3. Tab 27


       During this conversation, Burnett and his attorney discuss a letter received by
Benton indicating Benton was going to be charged with certain crimes. (Tab 27, pages
1-2). In discussing how he knew the contents of the letter, Burnett stated “He read it to
me. . . . . I talked to him on the phone. You know I got a conference line.” (Tab 27,
page 3). Defendants argue communications between Burnett and Benton (who were
being held in separate institutions) on a “conference line” constituted “a violation of
institution rules and provided another means by which the cooperating co-defendants
could conform their testimony, without the knowledge of the government.” The Court is
not certain how this could be used for impeachment purposes but, assuming it could for
the sake of argument, Burnett’s admission to his attorney was not new. Burnett
explained the concept of a “conference line” during his trial testimony and admitted having
conversations with Benton about the case. E.g., Tr. at 1247-49, 1251-53, 1254-56,
1363-65, 1561-62. 3 Thus, Burnett’s statements to his attorney were cumulative to
information already known to the jury.




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        Burnett and Benton were allowed to make outgoing calls, but could not receive
calls. To communicate via phone, the two of them called a conference call box Burnett
placed at his mother’s house.

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4. Tab 30


       The topic of this conversation are particulars of Burnett’s plea agreement. At one
point, Burnett asks what the Government has said “about the forfeiture.” Burnett’s
attorney responds “They’re still – they’ll go with the forfeiture. They will go with the
forfeiture. They’re just going to give us a side agreement on that.” (Tab 30, page 4).
This exchange obviously follows from a prior conversation between Burnett and his
attorney, but no additional specifics are provided by the participants. Most importantly,
there is nothing in this brief exchange that suggests (as Defendants do) that it relates to
some expectation on Burnett’s part that he will receive payment from property forfeited
by the Government.
       During the trial, Burnett testified that he thought about asking the Government for
a share of the forfeiture, but never did so. Tr. at 1525-26. Certainly, there is nothing in
the plea agreement allowing for such consideration, and the Court would find it incredible
if such an arrangement existed. The Government sought forfeiture against the
defendants in this case but not against Burnett; perhaps the “side agreement” involved
the Government’s decision not to seek a forfeiture against him. 4 Ultimately, there is no
proof that Burnett’s lawyer’s statements mean what Defendants insinuate.


5. Tab 36


       Defendants contend this conversation demonstrates “Burnett indicated his
intention to raise a false defense of mental capacity after he testified in order to receive
a further reduction in sentence” and is offered as evidence Burnett was willing to
manipulate the system and was beyond the Government’s control. The Court concludes
this is not a fair characterization of the conversation.




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           It should be noted that Burnett’s sentence includes and order of restitution.

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       Burnett reveals to the lawyer on the phone that he has fired his prior lawyer and
replaced him with a new one. Burnett explains that his new attorney recommended he
see a psychologist in the hopes of obtaining a sentencing departure. The suggestion
was made based on biographical information contained in Burnett’s Presentence
Investigation Report (“PSI”) and Burnett requests this lawyer’s thoughts. (Tab 36, page
2). The lawyer on the phone disagrees with the recommendation, explaining that it
undercuts Burnett’s value as a viable witness for the Government which, in turn,
undercuts Burnett’s bargaining position with the Government. (Tab 36, pages 3-4, 8).
The attorney also expresses concern that Burnett’s security classification might be
affected. (Tab 36, page 5). Burnett then asks whether he should see a psychologist
after he testifies for the Government but before he himself is actually sentenced, and the
attorney again counsels against this course of action. (Tab 36, pages 14-17). Fairly
characterized, the conversation does not reflect Burnett is planning to do anything, but
rather that he is seeking a second lawyer’s opinion about a course of action proposed by
another lawyer. Moreover, the conversation does not reflect Burnett contemplated
providing false testimony. As he alluded to in his conversation, Burnett’s PSI (like all
PSI’s) contained biographical information to assist the sentencing judge in arriving at an
appropriate sentence. There is nothing improper or “false” about augmenting that
information with expert testimony or using it to argue for a departure or a sentence in a
particular range (particularly when, as here, Burnett anticipated the Government would
file a motion to permit the sentencing judge to depart below the mandatory minimum).


6. Tabs 54 & 57


       These conversations, with two different attorneys, involve the same subject matter
and will be addressed together. The first conversation took place on August 21, 2000,
and begins with Burnett asking his attorney questions about Sentencing Guideline
calculations and expressing his hope that the sentencing court does not simply cut the
thirty year minimum sentence in half. (Tab 54, p. 5). The attorney confirms that the

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more cooperation Barnett provides the greater his benefit might be. (Tab 54, pp. 5-6).
Barnett then relates that the Assistant United States Attorney (“AUSA”) compared him to
some other witnesses that, in Burnett’s words, “cooperated. But, they went straight
home, you know what I’m saying? He told me that what I’m doing is on the same level
and he said that my case, he says, this ain’t a normal case.” (Tab 54, p. 7).
       The second conversation took place on January 25, 2001. Burnett’s attorney
offers a rather rosy picture of Burnett’s prospects. He suggests he might argue for “a
sentence of two years,” (Tab 57, p. 7), later says “what would make me happy is if you
got out like right after sentencing” and in response to Burnett’s questions confirms such a
sentence is “possible.” (Tab 57, p. 10). Burnett then volunteers that he had a
conversation with the AUSA, who told him “about some dudes over here with like about
the same amount of time. And then they testified and then they went straight to halfway
house and he kinda told me that I was in their position, you know.” (Tab 57, p. 11).
       The alleged importance of these statements relates to a July 12, 2000,
conversation between Burnett and his wife that was played for the jury. In that
conversation, Burnett told his wife that he expected to be out shortly after trial.
However, at trial he denied that any representative from the Government made such a
promise to him; his statement was “[n]ot based upon my perceptions [of the AUSA],
based upon being that I talked to him, in my opinion, that I should be, but I was never
told that by anyone.” Tr. at 1577-78, 1581-83. Later, Burnett testified he lied to his wife
in an attempt to “give her some hope. But it had nothing to do with somebody telling me
something or nothing like that. Because I already know whatever time I get is,
specifically, up to the judge.” Tr. at 1781.
       In calculating the probable effect of these statements on the jury’s assessment of
Burnett’s credibility, the following facts must be remembered. First, it was abundantly
clear that Burnett lied: he testified that he lied to his wife, which the jury may have
believed; if it did not believe Burnett’s confession, the jury would have believed Burnett
told his wife the truth and his testimony was a lie. Either way, the jury knew Burnett lied.
Second, Burnett repeatedly testified that he was not promised anything particular in

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terms of a sentence and that the ultimate decision about the sentence rested with the
sentencing judge. Third, the conversations with the attorneys contain numerous
instances in which Burnett was told the ultimate decision rested with the sentencing
judge. Fourth, Instruction No. 25 told the jury the ultimate decision rested with the
sentencing judge. Fifth, it is correct to state the ultimate decision rests with the judge;
once the Government files a motion for downward departure, the sentence is left to the
court’s discretion.
       In light of these facts, the Court does not believe Burnett’s statements to his
attorneys contained any “extra” value beyond that which was established by events at
trial. The tapes could have further substantiated Burnett as a liar – but the jury already
knew that. They could not demonstrate Burnett expected a particular sentence because
the jury was told such a promise would have no effect.


                                     III. CONCLUSION


       The Court has considered the excerpts identified by Defendants in light of the
evidence admitted at trial. For the reasons expressed in Judge Maughmer’s Report and
this Order and Opinion, the Court’s confidence in the verdict is not undermined and
Defendants are not entitled to relief.
       In accordance with the Eighth Circuit’s directive, the Clerk of Court is directed to
send a certified copy of this Opinion and Order (along with a certified copy of Judge
Maughmer’s Report, because its reasoning has been partially incorporated herein) to the
Court of Appeals.


IT IS SO ORDERED.



                                                  /s/ Ortrie D. Smith
                                                  ORTRIE D. SMITH, JUDGE
DATE: August 9, 2005                              UNITED STATES DISTRICT COURT


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